     Case:15-60011-EJC Doc#:43 Filed:02/21/17 Entered:02/21/17 10:31:12                                  Page:1 of 1


                            UNITED STATES BANKRUPTCY COURT
                                                Southern District of Georgia

In re:                                                                             Case No.: 15−60011−EJC
Linda F. Hill
       Debtor                                                                      Judge: Edward J. Coleman III
                                                                                   Chapter: 13


                                        NOTICE OF CONTINUED HEARING

The Hearing on Trustee's Motion to Dismiss Case originally scheduled February 15, 2017 has been continued to:

                                                  March 15, 2017 , at 09:00 AM ,
                                                     U.S. Bankruptcy Court,
                                        U. S. Courthouse, 52 N. Main St., Statesboro, GA .

All other provisions of the original notice remain in full force and effect.



                                                                                 Lucinda Rauback, CLERK
                                                                                 United States Bankruptcy Court
                                                                                 125 Bull St, Rm 213
                                                                                 P.O. Box 8347
                                                                                 Savannah, GA 31412

Dated: February 21, 2017




B−40C [Rev. 05/12] LLE
